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                                            NAILAH K. BYRD
                                    CUYAHOGA COUNTY CLERK OF COURTS
                                                     1200 Ontario Street
                                                    Cleveland, Ohio 44113




                                               Court of Common Pleas


                                     New Case Electronically Filed: COMPLAINT
                                                 July 6,2023 10:06


                                             By: Y TIMOTHY CHAI 0092202

                                                Confirmation Nbr. 2900931



  KINZIE ADVANCED POLYMERS LLC                                              CV 23 981978

           vs.
                                                                  Judge: WILLIAM T. MCGINTY
  HIGHHOPES LLC




                                                     Pages Filed: 35




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                                      IN THE COMMON PLEAS COURT
                                        CUYAHOGA COUNTY, OHIO

      KINZIE ADVANCED POLYMERS LLC
      dba GROVE BAGS
      26201 Richmond Road, Unit D
      Bedford Heights, Ohio 44146
                                                                CASE NO.
                      Plaintiff

                                                                JUDGE

      HIGHOPES, LLC
      14241 NE Woodinville Duval Road                           (Jury Demand Endorsed Hereon)
      #372
      Woodinville, Washington 98072

                      Defendant.

                                     COMPLAINT AND JURY DEMAND

              Plaintiff Kinzie Advanced Polymers LLC d/b/a Grove Bags (“Plaintiff’) for its Complaint

      and Jury Demand (the “Complaint”) against Defendant Highopes, LLC (“Defendant”) avers and

      states as follows:                                                                    ■

                                                   THE PARTIES

              1.      Plaintiff is an Ohio limited liability company.

              2.      Plaintiffs principal place of business is located in Cuyahoga County at 26201

      Richmond Road, Unit D, Bedford Heights, Ohio 44146.

              3.      Plaintiff created TerpLoc®, a cannabis film that is the first of its kind.

              4.      Plaintiff is a leader in the cannabis industry with valuable contacts with all levels

      of the supply chain from growers to retailers.

              5.       Defendant is a service provider that touts itself as a cannabis industry specialist:

      “Welcome to HIGHOPES, a top branding agency for cannabis websites, dispensary design,

      cannabis marketing and more.



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              6.      This lawsuit arises out of services provided by Defendant to Plaintiff that failed to

      live up to the specific terms promised by Defendant.

              7.      Prior to filing this lawsuit, Plaintiff met and conferred with Defendant’s counsel,

      but Defendant was unwilling to negotiate in good faith to remedy Defendant’s mistakes, errors,

      and delays.

              8.      Defendant’s unwillingness to negotiate in good faith is a further breach of the

      Parties’ contract.

                                         JURISDICTION AND VENUE

              9.       This Court has personal jurisdiction over Defendant because Defendant knowingly

      contracted with an Ohio business.

               10.     This Court also has personal jurisdiction because Defendant performed services on

      Defendant’s website that is based and managed in Cuyahoga County, Ohio.

               11.     Prior to filing this lawsuit, Plaintiff attempted to negotiate a resolution of the

      damage caused by Defendant, but Defendant was unwilling to negotiate in good faith.

               12.     This Court is the proper venue for this matter because some or all of the conduct

      giving rise to this Lawsuit occurred in Cuyahoga County and the claim for relief arose in Cuyahoga

      County.

                                     FACTS COMMON TO ALL CLAIMS

               13.     Plaintiff is a leader in the cannabis industry with valuable contacts with all levels

      of the supply chain from growers to retailers.

               14.     Plaintiffs online business was strong, but it sought to improve its website and

      branding through a third party in 2022.




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              15.     Plaintiff was seeking to (1) design and develop a scalable and conversion

      optimized e-commerce website; and (2) begin utilizing SEO marketing to regain and exceed

     past search rankings.

              16.     In simple terms, Plaintiff was seeking to increase outreach and to better compete

      in the digital space.

              17.     Many companies provide such products and services.

              18.     Defendant represented itself as the expert in these areas for the cannabis industry.

              19.     Defendant represented that it not only had the expertise to provide these services,

      but also specific knowledge of the cannabis industry that would be of great value to Plaintiff.

              20.     Defendant represented that it had the manpower to timely complete Plaintiffs

      services.

              21.    Defendant represented that it could timely complete Plaintiff s project.

              22.     Time and quality were of the utmost importance to Plaintiff due to the fact that it

     had an existing e-commerce platform and it did not want to damage its existing platform during

     the upgrade.

              23.     In addition, Plaintiff is a lean and fast growing company that did not have the extra

     manpower to supplement the web provider’s services.

              24.     Plaintiff and Defendant ultimately entered into a Project Proposal.

              25.     Plaintiff only    entered    into   the   Project Proposal     based   on   Defendant’s

     representations as to its capabilities.

              26.     Plaintiff learned that Defendant’s material representations were false.

              27.     Upon information and belief, Defendant was aware that it could not timely and

     effectively complete the project when the proposal was submitted to Plaintiff.




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                28.   A true and correct copy of the Project Proposal is attached hereto as Exhibit 1.

                29.   A material term of the Project Proposal was the completion of the planning, design

      and implementation in a time period of 9-12 weeks.

                30.   Defendant failed to meet the timeframes set forth in the Project Proposal.

                31.   More importantly, Defendant did not have the manpower or expertise to complete

      the project without significant involvement from Plaintiff.

                32.   Plaintiff had to utilize a substantial amount of executive employee man hours in

      order to complete the project.

                33.   Due to the delays to the project and Defendant’s poor work, Plaintiff suffered a loss

      of e-commerce sales.

                34.   Plaintiff notified Defendant of the damages caused by Plaintiffs breach of the

      contract.

                35.   Defendant, however, was not willing to discuss a good faith resolution of the

      breach.

                36.   Defendant did not deny that it breached the contract, but it sought to force Plaintiff

      to provide significant documentation before Defendant would provide compensation to Plaintiff.

                37.   The contract required a good faith negotiation of the dispute prior to filing a lawsuit.

                38.   Defendant did not negotiate in good faith.

                39.   Plaintiff ultimately filed this lawsuit due to the damages caused by Defendant’s

      breach of the contract and significant misrepresentations.

                40.   Defendant has breached the contract.

                41.   Defendant has knowingly misrepresented its capabilities.




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              42.      Defendant’s actions have resulted in damages to Plaintiff in excess of Twenty-Five

      Thousand Dollars.

                                     COUNT I - BREACH OF CONTRACT

              43.      Plaintiff incorporates paragraphs 1 through 42 of the Complaint as if fully rewritten.

              44.      The Parties entered into a contract for Defendant’s services.

              45.      The contract required Defendant to timely and effectively complete the project.

              46.      Plaintiff has fully complied with the contract.

              47.      Defendant has breached the contract.

               48.     Defendant’s conduct has damaged Plaintiff.

              49.      Following the breach, Plaintiff notified Defendant of the breach as required by the

      contract.

               50.     The contract, drafted by Defendant, required the parties to negotiate to resolve the

      dispute.

               51.     Defendant failed to negotiate in good faith.

               52.     As a result of Defendant’s breach of contract, Defendant owes an amount in excess

      of Twenty-Five Thousand Dollars, plus attorney fees, and Court costs.

                           COUNT II - FRAUDULENT MISREPRESENTATIONS

               53.     Plaintiff incorporates paragraphs 1 through 52 of the Complaint as if fully rewritten.

               54.     Plaintiff had many options available to it for the e-commerce services that it sought.

               55.     Plaintiff contracted with Defendant based on Defendant’s representations regarding

      the quality of its services, its manpower, and its claimed knowledge of the cannabis industry.

               56.     Defendant knowingly misrepresented its capabilities.




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               57.     Defendant knowingly induced Plaintiff to enter into the contract based on

      Defendant’s misrepresentations.

               58.     Plaintiff would not have entered into the contract but for Defendant’s material

      misrepresentations.

               59.     Plaintiff could not have discovered the falsity of Defendant’s representations at the

      time of the contract.

               60.     Defendant has caused significant harm to Plaintiff.

               61.     Defendant’s conduct was willful.

               62.     Defendant’s conduct was intentional.

               63.     Defendant’s conduct was malicious.

               64.     Plaintiff is entitled to punitive damages.

               65.     As a result of Defendant’s intentional misconduct, Defendant owes Plaintiff an

      amount in excess of Twenty-Five Thousand Dollars, plus attorney fees, punitive damages, and

      Court costs.

               WHEREFORE, Plaintiff demands judgment and relief against Defendant as follows:

               1.      Damages in an amount of Thirty-Five Thousand Dollars, plus attorney fees, and

      Court costs for Defendant’s breach of contract.

               2.      Damages in an amount of Thirty-Five Thousand Dollars,                  plus attorney fees,

      punitive damages, and Court costs for Defendant’s fraudulent misrepresentations;

               3.      Interest on the amounts owed to Plaintiff;

               4.      Costs incurred in prosecuting this action;

               5.      Attorney fees incurred in prosecuting this matter on the breach of contract claim;

               6.      Attorneys fees based on the award of punitive damages;




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              7.      Punitive damages; and

              8.      Any other appropriate relief that this Court deems just and equitable.

                                                                Respectfully submitted,

                                                                /s/ David A. Campbell__________
                                                                David A. Campbell (0066494)
                                                                Y. Timothy Chai (0092202)
                                                                Lewis Brisbois Bisgaard & Smith, LLP
                                                                1375 E. 9th Street, Suite 2250
                                                                Cleveland, OH 44114
                                                                Phone: (216) 298-1262
                                                                Fax: (216) 344-9421
                                                                david.a.campbell@lewisbrisbois.com
                                                                Timothy.Chai@lewisbrisbois.com

                                                                Attorneys for Plaintiff




                                                  JURY DEMAND

              Pursuant to Rule 38(B) of the Ohio Rules of Civil Procedure, a trial by jury is respectfully

      requested on all the issues presented herein.

                                                                /s/ David A. Campbell_________
                                                                David A. Campbell (0066494)


                                                                One of the Attorneys for Plaintiffs




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                                      HIGHOPES


Project Proposal
Prepared For: Grove Bags
Delivered on: January 24, 2022, Revised February 4, 2022
Expires after 7 days




                                                                                              PLAINTIFF’S
                                                                                                EXHIBIT
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 Overview and Goals
 Your Oocils:

     1. Position Grove Bags as an elite B2B brand able to compete successfully with the competition digitally.

    2. Restructure information hierarchies to best communicate to specific verticals within the market as to
        key differentiators.

    3. Increase outreach and it’s automation to garner increased sales and end-customer feedback.

    4. Decrease workload for internal Website expansion, edits, and marketing integrations.




 Our Solutions

     1. Design and develop a scalable & conversion optimized e-commerce website

    2. Begin utilizing SEO marketing to regain and exceed past search rankings




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 Scope of Services
 Planning
 Before we get started, it’s critical to your project’s success that we complete some initial discovery and
 planning to serve as the foundation for the rest of the process.


 PROCESS
     • Pre-project questionnaire

     • Kickoff Meeting

     • Existing Asset Collection

      • Client Dashboard & Timeline




 Weissite IJX/iJI Design
 Before development begins, we will design the user experience and user interface of the website through a
 static mockup process. After final approval, these mockups will be passed over to our development team.


 PROCESS
      • 4 web page mockups
            ° Home

            ° All Products

            ° Product Template

             ° Cultivators


      • Mockups produced in desktop format

      • Up to three rounds of revisions before development begins




 Website De¥»l©pm®n*


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  We will develop a multi-page website based on the following respective recommended sitemaps,
 features, and functionality with a single round of revision.


  PROCESS
      • A multi-page e-commerce website

      • Website Seminar and training for future onboarding

      • Visual Framework license for future management


  SITEMAP
     1. Home

     2. Technology

     3. Cultivators

     4. Distributors

     5. Dispensaries

     6. Consumers

     7. Custom Products

     8. Savings Calculator

     9. News

    10. Contact (External Link)

    11. Press

    12. All Products

    13. Product Categories (-13)

    14. Product Page Template (-50)

    15. Account

    16. Checkout

    17. Cart


  FEATURES & FUNCTIONALITY
 Speed Optimization


 We believe basic speed optimization should be included in every site we build. This contributes to overall
  UX as well as (necessarily) your conversions and usability. We've outlined our basic suggestions below:



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     1. CDN Integration (This ongoing service is free with our preferred hosting partner)

    2. Caching Integration (This ongoing service is free with our preferred hosting partner)

    3. Automated minification of HTML, JS, & CSS files (where applicable)

    4. Asynchronous/delayed load of applicable javascript files


 Email Capture


 Connection of your native forms to your email marketing platform to facilitate the capture of user
 information and segmentation of mailing lists. We propose Mailchimp for a minimum viable product (MVP)
 as it provides a low-barrier entry as well as exporting capabilities.


 Woocommerce Setup


 General setup of Woocommerce would include:


     1. Plugin installation

     2. Email automation setup

    3. Email automation setup

    4. Checkout validation setup

    5. Account setup

     6. Global cart setup


 Payment Gateway Integration


 Our team will integrate your payment gateway into the website to facilitate the taking of payments. This
 integration is predicated on your payment gateway selection having a 1st or 3rd party solution for
 integration out of the box. Purchase of tertiary pluginswill be the responsibility of your team.


 Shipping Option Integration


 Shipping will be integrated in a similar fashion to existing shipping options via your woocommerce install.


 Tax Setup


 Based on your shipping/selling location, we will facilitate the set of taxes by origin or customer location.


 CRM Integration


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 In order to help facilitate upselling opportunities, our team will integrate your current CRM as much as
 allowed within the process of Wocoomerce sales processes. Ideally, after identifying your CRM, we'd like to
 seethe ability to pass custom packaging needs directly to sales as well as identify high-order sales.


 Geo-location Based Popups


 Our team proposes building geo-location based messages depending on the country of origin to provide the
 opportunity to redirect directly the central hub distributors for their region.


 PLATFORM
 WordPress CMS


 We suggest leveraging WordPress for the brand's content management system. Key benefits are quick
 prototyping, client adoptions, and short deployment time.


 Visual Framework & Boilerplate


 We suggest theming this website with a visual framework and a lightweight boilerplate theme for rapid
 development. This will also allow your team to make simple layouts, pages, and elements without
 developer support. We suggest the following:


 Visual Framework: Elementor


 Boilerplate Theme: GeneratePress, Sage, or Underscores




 Included in this initial project will be a walkthrough of the backend of your website that will give you a basic
 introduction to WordPress and teach you to use the tools we've provided. We'll cover the following topics:


      • Basic website management

      • Custom modules and plugins

     • Email marketing integration

     • Best practices for maintenance




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 After this process, we'll independently record a walkthrough usingyour questions to provide context for our
 video's focus. These videos will be store on the backend of your website and can be downloaded
  independently for training as well.


 Additionally, we will provide you with 1 month of web maintenance supports. While we do test our websites
 extensively, this will ensure you have a safety net in case a bug does pop up.


  PROCESS
      • Custom video to train you on the backend of your site

      • 1 month of complimentary website warranty maintenance




 The SEO+ program is built to increase your organic rankings in the short and long term, providing a holistic
 process of setup, on-page SEO, and off-page SEO tactics. During this execution, we’ll continue the process of
 increasing your organic rankings by distributing your information across different aggregators while
 simultaneously building more branded content around the strategies we identify within our research.


  DELIVERABLES
 SEO Setup


 This is an annually executed strategy and looks at a number of SEO factors, including:


      • Technical SEO Analysis

      • Keyword Research

      • Competitor Research (Keyword and Content-Based)

      • General Website Content Recommendation for Improvements

      • Write and Implement Title Tag & Meta Description

      • Google My Business Listing

      • Bing Business Listing

      • Google Analytics - set up goal tracking for organic search


 SEO Network (Off-page SEO)




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     • Infogro

     • Factual


 Note: This aggregation process takes anywhere from 6 - 8 weeks for full propagation, after which directory
 listings sites may utilize this data to distribute this information via their networks.


 Blog Post Copywriting (On-page SEO)


 Our copywriters will complete 4 monthly posts to be scheduled by our internal team for publishing. These
 blog posts will be, on average, 500 words per post and be subject to a single round of revisions for each.
  Every month our team will begin concepting the next month's posts based on your keyword strategy, goals,
 and topic input. Before posts begin development, we will schedule a time to review the content strategy and
 receive approval


 Reporting


 In order to keep you apprised of updates, our team will provide monthly reports based on the progress of
 our efforts. These include


     • SEO Network link distribution

     • SEO Network rank tracking

     • Organic traffic tracking

     • Blog post engagement




 WobCcjr® Frogrorrt
 Our WebCare program is a great solution for those looking for a hands-off experience when comes to their
 website maintenance and those who want consistent reporting on measure their own marketing efforts.
 With this program, you can expect to get peace of mind, reduce t possibility of future website issues, and
 receive automated reporting to track your digital marketing efforts.


 DELIVERABLES
 CMS Updates


 In order to maintain the health of your Wordpress installation, we make sure to update your install and track
 for issues on a monthly basis.


 Plug in / 3rd Party Updates
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 Our WebCare program is a great solution for those looking for a hands-off experience when comes to their
 website maintenance and those who want consistent reporting on measure their own marketing efforts.
 With this program, you can expect to get peace of mind, reduce t possibility of future website issues, and
 receive automated reporting to track your digital marketing efforts.


  DELIVERABLES
 CMS Updates


 In order to maintain the health of your Wordpress installation, we make sure to update your install and track
 for issues on a monthly basis.


 Plugin 13rd Party Updates


 Similar to CMS updates, your pluginswill be updated on a monthly basis via a staging environment.
 Updated plugins will only be moved to your live install after compatibility testing.


 Website Backup Management


 Website backups will be integrated into your update workflow to ensure continual data recovery options. In
 the case backups are already integrated, we will manually create and manage those backups when
 necessary.


 Ongoing Speed Optimization Setup


 Ongoing speed optimization will revolve around the setup of automated speed optimization services. This
 may involve the integration of image optimization tweaks, GZIP, caching, and minification.


 Basic Website Monitoring


 Google Analytics to output custom reports when it detects your website is having issues. This lets us know
 when something needs to be fixed or further monitored.


 Google Analytics Reporting


 Google Analytics reporting will center around your uniqueconversion goals, traffic sources, and monitoring.
 You willreceive these reports on a monthly basis.


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  Project Investment
   Description                                                                                   Subtotal I

   Website UX/UI Design                                                                             $4,000

   Website Development                                                                             $19,000

   SEO+ Program                                                                              $2,000 / month
   Month-to-month, 6 month minimum

   Webcare Program                                                                            $250 / month
   Month-to-month subscription




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 Timeframe
 To complete the work outlined in the project scope, well need
 approximately 9 ~ 12 weeks from beginning to end, depending on when we
 receive feedback at each milestone. Upon signing the proposal, we are
 prepared to kick off your project the week of February 14th*:

 *This is an anticipated start date and is dependent upon proposal signing and deposit payment at least 3
 business days before the projected kickoff week.




                        Deliverable                                            Timeframe (weeks)

                   Website UX/UI Design                                                 3-4

                   Website Development                                                  6-8




  Next Steps
    1. Sign the Proposal

    2. Pay the Project Deposit

    3. Review the Project Questionnaire

    4. We’ll schedule a Project Kickoff Call




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   Project Agreement
  PMCiN© BREAKDOWN
  Recurring Total (billed monthly): $2,250.00


  Total Project Cost: $23,000.00


  PAYMENT SCHEDULE
  The total project cost will follow the schedule below. Full payment is due before the transfer of
  deliverables.


  50%: Invoiced and paid upon execution of the Proposal by both parties


  25%: due March 21,2022


  25%: due April 18, 2022


  RECURRING PAYMENT SCHEDULE
  100% of any setup fees will be invoiced and paid upon execution of the Proposal by both parties. 100% of
  each subsequent month’s payment will be due at the beginning of each month in which work is to be
  completed.


  SEO+ PROGRAM CANCEL LVi .’ON
  Good things take time. The SEO+ Program is a 6-month minimum commitment. Early termination will
  result in a $2,500 cancellation fee.


  TERMS
  Please refer to the Basic Terms & Conditions for additional terms. If there are any conflicting language or
  other elements between the Basic Terms & Conditions and this Proposal, the Proposal will govern.




            Pabuck
                                                    2022-02-08 13:09:44 (PST)




  Patrick Toste                                            Jalen Bosker

                                                           Grove Bags

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  Basic Terms And Conditions

 1.1 Agreement
 Agreement means the entire content of this Basic Terms and Conditions document, the Proposal
 document(s), Schedule A, together with any other Supplements designated below, together with any
 exhibits, schedules or attachments hereto.

 1.2 Client Content
 Client Content means all materials, information, factual, promotional, or other advertising claims,
 photography, writings and other creative content provided or required by Client for use in the preparation of
 and/or incorporation in the Deliverables.

 1.3 Copyrights
 Copyrights means the property rights in original works of authorship, expressed in a tangible medium of
 expression, as defined and enforceable under U.S. Copyright Law.

 1.4 Deliverables
 Deliverables means the services and work product specified in the Proposal to be delivered by HIGHOPES to
 Client, in the form and media specified in the Proposal.

 1.5 HIGHOPES Tools
 HIGHOPES Tools means all design tools developed and/or utilized by HIGHOPES in performing the Services,
 including without limitation pre-existing and newly developed software including source code, Web
 authoring tools, type fonts, and application tools, together with any other software, or other inventions
 whether or not patentable, and general non-copyrightable concepts such as Website design, architecture,
 layout, navigational and functional elements.

 1.6 Final Deliverables
 Final Deliverables means the final versions of Deliverables provided by HIGHOPES and accepted by Client.

 1.7 Final Works




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 Final Works means all creative content developed by HIGHOPES, or commissioned by HIGHOPES,
 exclusively for the Project and incorporated in the Final Deliverables, including, but not limited to, any and
 all visual elements, graphic design, illustration, photography, animation, motion design, audio-visual works,
 sounds, typographic treatments and text, modifications to Client Content, and HIGHOPES’s selection,
 arrangement and coordination of such elements together with Client Content and/or Third Party Materials.

 1.8 Preliminary Works
 Preliminary Works means all creative content including, but not limited to, concepts, sketches, visual
 presentations, or other alternate or preliminary designs and documents developed by HIGHOPES and which
 may or may not be shown and or delivered to Client for consideration but do not form part of the Final
 Works.

 1.9 Project
 Project means the scope and purpose of the Client’s identified usage of the work product as described in the
 Proposal.

 1.10 Services
 Services means all services and the work product to be provided to Client by HIGHOPES as described and
 otherwise further defined in the Proposal.

 1.11 Third Party Materials
 Third Party Materials means proprietary third party materials which are incorporated into the Final
 Deliverables, including without limitation stock photography or illustration.

 1.12 Trademarks
 Trademarks means trade names, words, symbols, designs, logos or other devices or designs used in the
 Final Deliverables to designate the origin or source of the goods or services of Client.

 1.13 Working Files
 Working Files means all underlying work product and digital files utilized by HIGHOPES to create the
 Preliminary Works and Final Works other than the format comprising the Final Deliverables.


 2
 The terms of the Proposal shall be effective for seven (7) calendar days after presentation to Client. In the
 event this Agreement is not executed by Client within the time identified, the Proposal, together with any
 related terms and conditions and deliverables, may be subject to amendment, change or substitution.


 3 Fees cinci Charges
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  3.1 Fees
  In consideration of the Services to be performed by HIGH OPES, Client shall pay to HIGH OPES fees in the
  amounts and according to the payment schedule set forth in the Proposal, and all applicable sales, use or
 value added taxes, even if calculated or assessed subsequent to the payment schedule.

  3.2 Expenses
  Client shall pay HIGHOPES’s expenses incurred in connection with this Agreement as follows: (a) incidental
  and out-of-pocket expenses including but not limited to costs for postage, shipping, overnight courier, and
 taxis at cost, and, if applicable, a standard mileage reimbursement at $0.58 per mile; and (b) travel
  expenses including transportation, meals, and lodging, incurred by HIGHOPES with Client’s prior approval.

  3.3 Additional Costs
  The Project pricing includes HIGHOPES’s fee only. Any and all outside costs including, but not limited to,
  equipment rental, photographer’s costs and fees, photography and/or artwork licenses, talent fees, music
  licenses, and online access or hosting fees, will be billed to Client unless specifically otherwise provided for
  in the Proposal.

  3.4 Invoices/Payments
  Client shall pay all invoices within 7 calendar days of the invoice date. A monthly service charge of 1.5
  percent (or the greatest amount allowed by state law) may be charged on all overdue balances. Payments
 will be credited first to late payment charges and next to the unpaid balance. Client shall be responsible for
  all collection or legal fees necessitated by lateness or default in payment. HIGHOPES reserves the right to
 withhold Deliverables if accounts are not current or overdue invoices are not paid in full. All grants of any
  license to use or transfer of ownership of any intellectual property rights under this Agreement are
  conditioned upon receipt of payment in full, including any outstanding Additional Costs, Taxes, Expenses,
  Fees, Charges, or the cost of Changes.




 4.1 General Changes
  Unless otherwise provided in the Proposal, and except as otherwise provided for herein, Client shall pay
  additional charges for changes requested by Client which are outside the scope of the Services on a time
  and materials basis, at HIGHOPES’s standard hourly rate of $165.00 per hour. Such charges shall be in
  addition to all other amounts payable under the Proposal, despite any maximum budget, contract price or
 final price identified therein. HIGHOPES may extend or modify any delivery schedule or deadlines in the
  Proposal and Deliverables as may be required by such Changes.

 4.2 Substantive Changes.



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 If Client requests or instructs Changes that amount to a revision in or near excess of twenty five percent
 (25%) of the time required to produce the Deliverables, and or the value or scope of the Services, HIGHOPES
 shall be entitled to submit a new and separate Proposal to Client for written approval. Work shall not begin
 on the revised services until a fully signed revised Proposal and, if required, any additional retainer fees are
 received by HIGHOPES.

 4.3 Timing
 HIGHOPES will prioritize performance of the Services as may be necessary or as identified in the Proposal,
 and will undertake commercially reasonable efforts to perform the Services within the time(s) identified in
 the Proposal. Client agrees to review Deliverables within the time identified for such reviews and to
 promptly either (i) approve the Deliverables in writing or (ii) provide written comments sufficient to identify
 Client’s concerns, objections or corrections. HIGHOPES shall be entitled to request written clarification
 thereof. Client acknowledges and agrees that HIGHOPES’s ability to meet schedules is entirely dependent
 upon Client’s prompt performance of its obligations to provide materials and written approvals and/or
 instructions pursuant to the Proposal and that any delays in Client’s performance or Changes in the Services
 or Deliverables requested by Client may delay delivery of the Deliverables. Any such delay caused by Client
 shall not constitute a breach of this Agreement by HIGHOPES.

 4.4 Testing and Acceptance.
 Client acknowledges that HIGHOPES has reserved time exclusively to perform the Services. Accordingly, in
 the event Client causes a delay in the Services (“Client Delay”) greater than two weeks, Client shall pay to
 HIGHOPES, in addition to fees and expenses already incurred through the date of such Client Delay, a
 Project Restart Fee equal to $300 to be paid before resuming work. Client acknowledges that if HIGHOPES
 accepts other work because of a Client Delay, HIGHOPES may adjust time to complete the Services as
 necessary to accommodate such other work.


  5 Clfent iespoHsibiHtle®
 Client acknowledges that it shall be responsible for performing the following in a reasonable and timely
 manner:


 (a) coordination of any decision-making with parties other than the HIGHOPES;


 (b) provision of Client Content in a form suitable for reproduction or incorporation into the Deliverables
 without further preparation, unless otherwise expressly provided in the Proposal;


 (c) final proofreading and in the event that Client has approved Deliverables but errors, such as, by way of
 example, not limitation, typographic errors or misspellings, remain in the finished product, Client shall incur
 the cost of correcting such errors; and



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  (d) ensuring that all information and claims comprising Client Content are accurate, legal and conform to
  applicable standards in Client’s industry.


  0 IttribMtten/Fromoticiris
  Each party acknowledges that in connection with this Agreement it may receive certain confidential or
  proprietary technical and business information and materials of the other party (“Confidential
  Information”). Each party, its agents and employees shall hold and maintain in strict confidence all
 Confidential Information, shall not disclose Confidential Information to any third party, and shall not use
  any Confidential Information except as may be necessary to perform its obligations under the Project,
 except as may be required by a court or government authority. Notwithstanding the foregoing, Confidential
  Information shall not include any information that is in the public domain or becomes publicly known
 through no fault of the receiving party, or is otherwise properly received from a third party without an
 obligation of confidentiality.


  B ieScrticrtshsp of the Partfes
 8.1 Independent Contractor.
 HIGHOPES is an independent contractor, notan employee of Client or any company affiliated with Client.
 HIGHOPES shall provide the Services underthe general direction of Client, but HIGHOPES shall determine,
 in HIGHOPES’s sole discretion, the manner and means by which the Services are accomplished. This
 Agreement does not create a partnership or joint venture and neither party is authorized to act as agent or
 bind the other party except as expressly stated in this Agreement. All rights, if any, granted to Client are
 contractual in nature and are wholly defined by the express written agreement of the parties and the various
 terms and conditions of this Agreement.

 8.2 Design Agents.
 HIGHOPES shall be permitted to engage and/or use third party designers or other service providers as
 independent contractors in connection with the Services (“Design Agents”). HIGHOPES shall remain fully
 responsible for such Design Agents’ compliance with the various terms and conditions of this Agreement.

 8.3 No Solicitation.
 The parties expressly acknowledge that this Agreement does not create an exclusive relationship between
 the parties. Client is free to engage others to perform services of the same or similar nature to those
 provided by HIGHOPES, and HIGHOPES shall be entitled to offer and provide design services to others,
 solicit other clients and otherwise advertise the services offered by HIGHOPES.


 0 Warranties cunei Representations
 9.1 By Client.


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 Client represents, warrants and covenants to HIGHOPES that (a) Client owns all right, title, and interest in, or
 otherwise has full right and authority to permit the use of the Client Content, (b) to the best of Client’s
 knowledge, the Client Content is accurate, legal, conforms to ethical standards of the Client’s industry, does
 not infringe the rights of any third party, and use of the Client Content as well as any Trademarks in
 connection with the Project does not and will not violate the rights of any third parties, (c) Client shall
 comply with the terms and conditions of any licensing agreements which govern the use of Third Party
 Materials, and (d) Client shall comply with all laws and regulations as they relate to the Services and
 Deliverables.

 9.2 By HIGHOPES
 (a) HIGHOPES hereby represents, warrants and covenants to Client that HIGHOPES will provide the Services
 in a professional and workmanlike manner and in accordance with all reasonable professional standards for
 such services.

 10.1 By Client.
 Client agrees to indemnify, save and hold harmless HIGHOPES from any and all damages, liabilities, costs,
 losses or expenses arising out of any claim, demand, or action by a third party arising out of any breach of
 Client’s responsibilities or obligations, representations or warranties under this Agreement. Under such
 circumstances HIGHOPES shall promptly notify Client in writing of any claim or suit; (a) Client has sole
 control of the defense and all related settlement negotiations; and (b) HIGHOPES provides Client with
 commercially reasonable assistance, information and authority necessary to perform Client’s obligations
 under this section. Client will reimburse the reasonable out-of-pocket expenses incurred by HIGHOPES in
 providing such assistance.

 10.2 By HIGHOPES.
 HIGHOPES agrees to indemnify, save and hold harmless Client from any and all damages, liabilities, costs,
 losses or expenses (collectively “Liabilities”) arising out of any meritorious claim, demand, or action by a
 third party which is inconsistent with HIGHOPES’s representations and warranties made herein, except in
 the event any such Liabilities arise directly as a result of Client’s gross negligence or misconduct, provided
 that (a) Client promptly notifies HIGHOPES in writing of the claim; (b) HIGHOPES shall have sole control of
 the defense and all related settlement negotiations; and (c) Client shall provide HIGHOPES with the
 assistance, information and authority necessary to perform HIGHOPES’s obligations under this section.


 Notwithstanding the foregoing, HIGHOPES shall have no obligation to defend or otherwise indemnify Client
 for any claim arising out of or due to Client Content, Third Party Materials, modifications of or content added
 to the Deliverables by Client or third parties, improper or illegal use of Deliverables, use of Deliverables not
 authorized under this Agreement, or the failure to update or maintain Deliverables.

 10.3 Settlement Approval.

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 The indemnifying party may not enter into any settlement agreement without the indemnified party’s
 written consent.

 10.4 Limitation of Liability.
 The services and the work product of HIGHOPES are provided “as is.” In all circumstances, the
 maximum liability of HIGHOPES, its directors, officers, employees, design agents and affiliates, to
 Client for damages for any and all causes whatsoever, and Client’s maximum remedy, regardless of
 the form of action, whether in contract, tort or otherwise, shall be limited to the total Project fee of
 HIGHOPES. In no event shall HIGHOPES be liable for any lost data or content, lost profits, business
 interruption or for any indirect, incidental, special, consequential, exemplary or punitive damages
 arising out of or relating to the materials or the services provided by HIGHOPES, even if HIGHOPES has
 been advised of the possibility of such damages, and notwithstanding the failure of essential purpose
 of any limited remedy.


 11 Term and) Terrnmotion
 11.1 Term.
 This Agreement shall commence upon the Effective Date and shall remain effective until the Services are
 completed and delivered, or otherwise terminated as set forth herein.

 11.2 Termination
 This Agreement may be terminated for convenience at any time by either party effective immediately upon
 notice, or the mutual agreement of the parties, or for cause if any party:


 (a) becomes insolvent, files a petition in bankruptcy, makes an assignment for the benefit of its creditors; or


 (b) breaches any of its material responsibilities or obligations under this Agreement, which breach is not
 remedied within ten (10) days from receipt of written notice of such breach.

 11.3 in the event of termination.
 In the event of termination, HIGHOPES shall be compensated forthe Services performed through the date of
 termination in the amount of (a) any advance payment, (b) a prorated portion of the fees due, or (c) hourly
 fees for work performed by HIGHOPES and/or Design Agents as of the date of termination, whichever is
 greater; and Client shall pay any outstanding Additional Costs, Taxes, Expenses, Charges, and costs of
 Changes incurred through the date of termination. In the event of termination for convenience by Client,
 Client shall pay in addition to the above an early termination fee equal to 25% of the total Project fee,
 Schedule A shall not be effective, and Client shall not have rights to use the Deliverables except upon written
 consent from HIGHOPES provided after such termination.

 11.4 Expiration or termination

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  In the event of termination for convenience by H IGNORES or for cause by Client, and upon full payment of
 compensation as provided herein, HIGHOPES grants to Client such right and title as provided for in Schedule
 A of this Agreement with respect to those Deliverables provided to, and accepted by Client as of the date of
 termination.

 11.5
  Upon expiration or termination of this Agreement: (a) each party shall return or, at the disclosing party’s
  request, destroy the Confidential Information of the other party, and (b) other than as provided herein, all
 rights and obligations of each party under this Agreement, exclusive of the Services, shall survive.

 11.6 Work Stoppage Option
  If HIGHOPES has grounds to terminate this Agreement for breach under Section 11.2(b), HIGHOPES may
 elect to suspend work until Client cures the breach and agrees to amend the Proposal to adjust fees,
 including Suspension Fees, and schedules as reasonably required by HIGHOPES.




 12.1 Modification/Waiver.
 This Agreement may be modified by the parties only in writing signed by both parties, except that
 HIGHOPES’s invoices may include, and Client shall pay, Additional Costs, Expenses, Charges, and costs of
 Changes that Client authorizes by email or a project management platform utilized for the Project. Failure
 by either party to enforce any right or seek to remedy any breach under this Agreement shall not be
 construed as a waiver of such rights nor shall a waiver by either party of default in one or more instances be
 construed as constituting a continuing waiver or as a waiver of any other breach.

 12.2 Notices.
 All notices to be given hereunder shall be transmitted in writing via a project management platform utilized
 for the Project, e-mail, or certified or registered mail, return receipt requested, to the addresses identified
 below, unless notification of change of address is given in writing. Notice shall be effective upon receipt or in
 the case of email, upon confirmation of receipt (by automated confirmation or reply by the recipient).

 12.3 No Assignment.
 Neither party may assign, whether in writing or orally, or encumber its rights or obligations under this
 Agreement or permit the same to be transferred, assigned or encumbered by operation of law or otherwise,
 without the prior written consent of the other party, except that this Agreement may be transferred or sold
 as part of a transfer or sale of the assigning party’s entire business or portion thereof relating to the Project.

 12.4 Force Majeure.



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 HIGHOPES shall not be deemed in breach of this Agreement if HIGHOPES is unable to complete the Services
 or any portion thereof by reason of fire, earthquake, flood, hurricane or other severe weather, labor dispute,
 act of war, terrorism, riot or other severe civil disturbance, death, illness or incapacity of HIGHOPES or any
 local, state, federal, national or international law, governmental order or regulation or any other event
 beyond HIGHOPES’s control (collectively, “Force Majeure Event”). Upon occurrence of any Force Majeure
 Event, HIGHOPES shall give notice to Client of its inability to perform or of delay in completing the Services
 and shall propose revisions to the schedule for completion of the Services.

 12.5 Governing Law and Dispute Resolution.
 The formation, construction, performance and enforcement of this Agreement shall be in accordance with
 the laws of the United States and the state of Washington without regard to its conflict of law provisions or
 the conflict of law provisions of any other jurisdiction. In the event of a dispute arising out of this
 Agreement, the parties agree to attempt to resolve any dispute by negotiation between the parties. If they
 are unable to resolve the dispute, either party may commence mediation and/or binding arbitration through
 the American Arbitration Association, or other forum mutually agreed to by the parties. The prevailing party
 in any dispute resolved by binding arbitration or litigation shall be entitled to recover its attorneys’ fees and
 costs. In all other circumstances, the parties specifically consent to the local, state and federal courts
 located in the state of Washington. The parties hereby waive any jurisdictional or venue defenses available
 to them and further consent to service of process by mail. Client acknowledges that HIGHOPES will have no
 adequate remedy at law in the event Client uses the Deliverables in any way not permitted hereunder, and
 hereby agrees that HIGHOPES shall be entitled to equitable relief by way of temporary and permanent
 injunction, and such other and further relief at law or equity as any arbitrator or court of competent
 jurisdiction may deem just and proper, in addition to any and all other remedies provided for herein.

 12.6 Severability.
 Whenever possible, each provision of this Agreement shall be interpreted in such manner as to be effective
 and valid under applicable law, but if any provision of this Agreement is held invalid or unenforceable, the
 remainder of this Agreement shall nevertheless remain in full force and effect and the invalid or
 unenforceable provision shall be replaced by a valid or enforceable provision.

 12.7 Interpretation.
 Section headings are solely for convenience and reference only and shall not affect the scope, meaning,
 intent or interpretation of the provisions of this Agreement nor otherwise be given any legal effect. Any
 design terminology shall be defined according to standard design industry usage, and any dispute as to the
 meaning or scope of design terminology shall be determined by HIGHOPES in good faith. Any other
 ambiguities shall be resolved with the most reasonable and legally valid construction, without regard to
 authorship of such provisions.

 12.8 Integration.

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 This Agreement comprises the entire understanding of the parties hereto on the subject matter herein
 contained, and supersedes and merges all prior and contemporaneous agreements, understandings and
 discussions between the parties relating to the subject matter of this Agreement. In the event of a conflict
 between the Proposal and any other Agreement documents, the terms of the Proposal shall control. This
 Agreement comprises this Basic Terms and Conditions document, the Proposal, Schedule A, and
 Supplement 1.




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 By their execution below, the parties hereto have agreed to all of the terms and conditions of this Agreement
 effective as of the last date of signature below, and each signatory represents that it has the full authority to
 enter into this Agreement and to bind her/his respective party to all of the terms and conditions herein.




          HIGHOPES, LLC                                      CLIENT:

                                                                Grove Bags


          Address:                                           Address:

                                                                1648 St. Clair Ave
          14241 NE Woodinville Duvall Rd #372

                                                                Cleveland, Ohio 44114
          Woodinville, Washington 98072


                                                              Signed:

                                                              Print Name:     | Jalen Bosker_______
          SiB"ed: Pabuek
                                                             Title:
                                                                         Creative Director
          January 24,2022


                                                              February 08,2022




      Please email all invoices to:

          Dan Jaffe

         dan@grovebags.com




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  Schedule A:
 INTELLECTUAL PROPERTY PROVISIONS
 ASSIGNMENT OF RIGHTS


 IF 1 lights In th® Final Deliverables
 IP 1.1 Final Works
 Upon completion of the Services, and expressly conditioned upon full payment of all fees and costs due,
 HIGHOPES assigns to Client all of HIGHOPES’s Copyrights in and to the Final Works, including Trademarks,
 and HIGHOPES shall deliver to Client all Working Files related to the Final Works. HIGHOPES shall cooperate
 with Client and shall execute any additional documents reasonably requested by Client to evidence such
 assignment, and Client shall reimburse HIGHOPES for HIGHOPES’s reasonable time and out-of-pocket
 expenses in connection therewith.

 IP 1.2 Trademarks
 Client shall have sole responsibility for ensuring that Trademarks do not infringe the rights of third parties,
 and Client shall indemnify, save and hold harmless HIGHOPES from any and all damages, liabilities, costs,
 losses or expenses arising out of any claim, demand, or action by a third party alleging trademark
 infringement, or arising out of Client’s failure to obtain trademark clearance or permissions, for use of
 Trademarks.

 IP 1.3 Client Content.
 Client Content, including pre-existing Trademarks, shall remain the sole property of Client or its respective
 suppliers, and Client or its suppliers shall be the sole owner of all trademark, trade secrets, patents,
 Copyrights, and other rights in connection therewith. Client hereby grants to HIGHOPES a nonexclusive,
 nontransferable license to use, reproduce, modify, display and publish the Client Content solely in
 connection with HIGHOPES’s performance of the Services and promotional uses of the Deliverables as
 authorized in this Agreement.

 IP 1.4 Third Party Materials.




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 Intellectual property rights in Third Party Materials shall be owned by the respective third parties.
 HIGHOPES shall inform Client of all Third Party Materials to be procured by HIGHOPES that Client may need
 to license at Client’s own expense, and unless otherwise arranged by Client, HIGHOPES shall obtain a license
 for Client to use the Third Party Materials consistent with the usage rights granted herein. Client shall
 indemnify, save and hold harmless HIGHOPES from any and all damages, liabilities, costs, losses or
 expenses arising out of any claim, demand, or action by a third party arising out of Client’s failure to obtain
 copyright, trademark, publicity, privacy, defamation or other releases or permissions with respect to
 materials included in the Final Works at Client’s request.




 IP 2.1 Preliminary Works / Working Files.
 HIGHOPES retains all proprietary rights, including property ownership, intellectual property rights and
 Copyrights, in and to all Preliminary Works and Working Files, and Client shall return to HIGHOPES all
 Preliminary Works and Working Files in Client’s possession within thirty (30) days of completion of the
 Services.

 IP 2.2 Original Artwork.
 HIGHOPES retains property ownership in any physically tangible original artwork comprising Final Works,
 including all rights to display or sell such artwork. Client shall return all original artwork to HIGHOPES within
 thirty (30) days of completion of the Services.

 IP 2.3 HIGHOPES Tools.
 HIGHOPES Tools and all intellectual property rights therein, including Copyrights, shall be owned solely by
 HIGHOPES. HIGHOPES hereby grants to Client a nonexclusive, nontransferable (other than the right to
 sublicense such uses to Client’s publisher, Web hosting or Internet service providers), perpetual, worldwide
 license to use the HIGHOPES Tools solely with the Final Deliverables for the Project. Client may not directly
 or indirectly, in any form or manner, decompile, reverse engineer, or otherwise disassemble or modify any
 HIGHOPES Tools comprising software or technology.




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  Supplement 1:
 WEBSITE-SPECJFiC TERMS / -V' v ONBITIONS


 W 1 Support Services

 W 1.1 Warranty Period.
 “Support Services” means commercially reasonable technical support and assistance to maintain and
 update the Deliverables, including correcting any errors or Deficiencies, but shall not include the
 development of enhancements to the Project or other services outside the scope of the Proposal. During the
 first month following the expiration of this Agreement (“Warranty Period”), HIGHOPES shall provide bug
 fixes, perform CMS updates, plugin/3rd party updates, and website backups during this period. Additional
 time shall be billed at HIGHOPES’s regular hourly rate, then in effect upon the date of the request for
 additional support.

 W 1.2 WebCare Program.
 Upon expiration of the Warranty Period and at Client’s option, HIGHOPES will provide Support Services on a
 monthly basis (the “WebCare Program”) for a monthly fee beginning at $250. The parties may cancel the
 WebCare Program at anytime. Cancellation of the WebCare program will be effective atthe end of that
 month’s cycle. HIGHOPES will perform, if applicable, routine CMS updates, plugin/3rd party updates,
 website backups, ongoing speed optimization, basic website monitoring, and Google Analytics reporting.


 W2 Enhancements
 During the Maintenance Period, Client may request that HIGHOPES develop enhancements to the
 Deliverables, and HIGHOPES shall exercise commercially reasonable efforts to prioritize HIGHOPES’s
 resources to create such enhancements. The parties understand that preexisting obligations to third parties
 existing on the date of the request for enhancements may delay the immediate execution Of any such
 requested enhancements. Such enhancements shall be provided on a time and materials basis at
 HIGHOPES’s then-in-effect price for such services.


 W3 McMitiartQl Warranties and Representations
 W 3.1 Deficiencies.
 Subject to the representations and warranties of Client in connection with Client Content, HIGHOPES
 represents and warrants that the Final Deliverables will be free from Deficiencies. For the purposes of this
 Agreement, “Deficiency” shall mean a failure to comply with the specifications set forth in the Proposal in
 any material respect, but shall not include any problems caused by Client Content, modifications,

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 alterations or changes made to Final Deliverables by Client or any third party after delivery by HIGHOPES, or
 the interaction of Final Deliverables with third party applications such as Web browsers other than those
 specified in the Proposal. The parties acknowledge that Client’s sole remedy and HIGHOPES’s sole liability
 fora breach of this Section is the obligation of HIGHOPES to correct any Deficiency identified within the
 Warranty Period. In the event that a Deficiency is caused by Third Party Materials provided or specified by
 HIGHOPES, HIGHOPES’s sole obligation shall be to substitute alternative Third Party Materials.

 W 3.2 HIGHOPES Tools.
 Subject to the representations and warranties of the Client in connection with the materials supplied by
 Client, HIGHOPES represents and warrants that, to the best of HIGHOPES’s knowledge, the HIGHOPES Tools
 do not knowingly infringe the rights of any third party, and use of same in connection with the Project will
 not knowingly violate the rights of any third parties except to the extent that such violations are caused by
 Client Content, orthe modification of, or use of the Deliverables in combination with materials orequipment
 outside the scope of the applicable specifications, by Client or third parties.




 HIGHOPES shall use commercially reasonable efforts to ensure that all Final Deliverables shall be designed
 to comply with relevant rules and regulations known to HIGHOPES; however, Client, upon acceptance of the
 Deliverables, shall be solely responsible for conformance with all rules, regulations, and laws relating to
 Client’s use thereof, including without limitation, relating to the transfer of software and technology, and
 compliance with the Americans with Disabilities Act and Section 508 of the Workforce Investment Act.




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